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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



UNITED STATES OF AMERICA                      )
                                              ) CRIMINAL ACTION FILE
v.                                            )
                                              ) NUMBER 1:10-cr-490-1-TCB
JOSE LUIS CHAVEZ-MACIEL,                      )
                                              )
              Defendant.                      )



                                       ORDER

       This case is currently before the Court on Magistrate Judge Walker’s

Report and Recommendation (the “R&R”) [321]. No objections to the R&R

have been filed.

       A district judge has a duty to conduct a “careful and complete” review

of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d 732, 732

(11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404, 408 (5th

Cir. 1982)). 1 Where no objection to the R&R is made, it need only be


       1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit decisions

issued before October 1, 1981, as well as all decisions issued after that date by a Unit B
panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir.
1982); see also United States v. Schultz, 565 F.3d 1353, 1361 n.4 (11th Cir. 2009)
(discussing continuing validity of Nettles).
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reviewed for clear error. Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th

Cir. 2006).2 After conducting a complete and careful review of the R&R,

the district judge may accept, reject or modify the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge may also receive further evidence or

recommit the matter to the magistrate judge with instructions. 28 U.S.C. §

636(b)(1)(C).

      The Court has carefully reviewed the R&R and finds no plain error in

its factual or legal conclusions. Therefore, the Court ADOPTS AS ITS

ORDER the R&R [321]. Defendant Jose Luis Chavez-Maciel’s motions to

suppress evidence and his statements [97, 102] are GRANTED IN PART

and DENIED IN PART. They are GRANTED with respect to his statements

that his nickname is “Picho” and that he had a gun in his residence, and

those statements are suppressed. Otherwise, the motions are DENIED.


      2 Macort addressed only the standard of review applied to a magistrate judge’s

factual findings; however, the Supreme Court has held that there is no reason for the
district court to apply a different standard of review to a magistrate judge’s legal
conclusions. Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this
circuit have routinely applied a clear-error standard to both. See Tauber v. Barnhart,
438 F. Supp. 2d 1366, 1373-74 (N.D. Ga. 2006) (collecting cases). By contrast, the
standard of review on appeal distinguishes between the factual findings and legal
conclusions. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991) (when
magistrate judge’s findings of fact are adopted by district court without objection, they
are reviewed on appeal under plain-error standard, but questions of law remain subject
to de novo review).

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      Chavez-Maciel’s motions for production of the name and location of

confidential informants [101], to suppress intercepted communications

[103, 118], to suppress evidence from unlawful search warrants [105, 119],

and to suppress identifications [107] are DENIED.

      With respect to Chavez-Maciel’s motion to sever Defendants [100],

the motion is DENIED as to his antagonistic-defenses argument. However,

the R&R deferred to the undersigned the Bruton argument raised in that

motion. Accordingly, Chavez-Maciel is DIRECTED to supplement his

motion to sever with respect to the Bruton issue [100] within twenty-one

days of this Order. If Chavez-Maciel does not file a supplemental brief

within this period, the Clerk is DIRECTED to submit the matter to the

undersigned, and the Court will deem the motion abandoned. If Chavez-

Maciel does file a supplemental brief, the Government will then have

fourteen days to file a response brief, and Chavez-Maciel may then file a

reply brief within fourteen days.

     IT IS SO ORDERED this 31st day of December, 2012.




                                    Timothy C. Batten, Sr.
                                    United States District Judge


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